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                    EXHIBIT ''D''
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Jason Van Dyke

From:                             Dean <dean714@yandex.com >
Sent:                             Wednesday, Ju ly 18, 2018 8:58 PM
To:                               Jason Van Dyke



Someone posted a pretty funny email from you on the blog. I think it is a fa ke, however. But you are a drug addict and a
lunatic, so anything is possible. Do you really th ink you can get an injunction against me, Dean Anderson, or the blog
from the federa l court? And what about my fellow co-administrators? What is to stop them from saying "mean things"
about you?

ha ha ha ha ha ha ha

So scary "Proud Boy" in your cute black polo shirt. Good luck with your efforts. Please keep us updated.



Dean




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Jason Van Dyke

From:                           Dean <dean714@yandex.com>
Sent:                           Thursday, Ju ly 19, 2018 10:08 AM
To:                             Jason Van Dyke



Hello Mr Nazi boy! Have you gotten anyone to pay attention to you yet at the federal court? I am still waiting
on the injunction order. But I suspect that you are too much of a pussy to follow through and you won't do shit
because you are a weak-assed attorney who can't get shit done.

Am I right?

Weak attorneys can't do shit and never follow through on their threats.


Dean




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